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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 UNIVERSAL ENTERTAINMENT CORP., et al., :
                                              Plaintiffs, :
                                                              :    23 Civ. 2250 (LGS)
                            -against-                         :
                                                              :         ORDER
 ALEXANDER EISEMAN, et al.,                                   :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on March 27, 2023, Defendants filed a pre-motion letter regarding an

anticipated motion to dismiss. On April 3, 2023, Plaintiffs filed a letter in response. Plaintiffs’

letter seeks leave to file an amended complaint. It is hereby

        ORDERED that Plaintiffs shall file an amended complaint no later than April 21, 2023.

Upon filing of the amended complaint, Defendants may file a renewed pre-motion letter.

Dated: April 7, 2023
       New York, New York
